            IN THE UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

                                      :
DONALD J. TRUMP FOR                   :
PRESIDENT, INC., et al.,              :
                                      :   NO. 20-CV-02078-MWB
                      Plaintiffs,     :
                                      :
           v.                         :
                                      :
KATHY BOOCKVAR, in her capacity       :
as Secretary of the Commonwealth of   :
Pennsylvania, et al.,                 :
                                      :
                      Defendants.     :
                                      :

  MOTION TO DISMISS AMENDED COMPLAINT OF ALLEGHENY
 COUNTY BOARD OF ELECTIONS, CHESTER COUNTY BOARD OF
ELECTIONS, MONTGOMERY COUNTY BOARD OF ELECTIONS, AND
  PHILADELPHIA COUNTY BOARD OF ELECTIONS OR, IN THE
ALTERNATIVE, TO DISMISS PENDING STATE-COURT RESOLUTION
                OF STATE-LAW QUESTIONS
          In light of the Court’s ruling that previously filed motions to dismiss are moot

due to the filing of the Plaintiffs’ Amended Complaint, the Boards of Elections of

Allegheny, Chester, Philadelphia, and Montgomery Counties (“County Boards”)

confirm that their previously filed Motion to Dismiss (ECF No. 94) and Reply Brief

in support (ECF No. 139) should be treated as a motion to dismiss Plaintiffs’

Amended Complaint pursuant to Federal Rule of Civil Procedure 12(b)(6). For the

reasons set out in those briefs, the Amended Complaint should be dismissed with

prejudice.

          The County Boards’ Reply Brief in Support of their Motion to Dismiss

requested that the Court “apply the pending Motion to Dismiss to the deficient

claims in the Amended Complaint.” (ECF No. 139 at 5.) “This is a sound approach

that promotes judicial economy by obviating the need for multiple rounds of briefing

addressing complaints that are legally insufficient.” Pettaway v. Nat’l Recovery

Sols., LLC, 955 F.3d 299, 303-04 (2d Cir. 2020). Accordingly, the County Boards

respectfully request dismissal of Plaintiffs’ Amended Complaint for the reasons set

forth in their Brief and Reply Brief in Support of the Motion to Dismiss (ECF No.

94, 139): lack of standing, abstention, and failure to state a cognizable claim for

relief.     The County Boards do not intend to file a new memorandum of law, but

hereby incorporate the arguments in their previous memoranda.
      Because the issues and claims underlying Plaintiffs’ emergency lawsuit have

been fully briefed—including the due process claim that Plaintiffs “mistakenly”

deleted from their Amended Complaint—the County Boards request prompt

dismissal of this lawsuit with prejudice.       Pursuant to Local Rule 7.1, a proposed

order is also attached.




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                                   Respectfully submitted,

                                   HANGLEY ARONCHICK SEGAL
Dated: November 18, 2020           PUDLIN & SCHILLER

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Board of Elections                 Forthcoming




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